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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION


KEILEE FANT, et al.,                          )
                                              )
           Plaintiffs,                        )
                                              )
      v.                                      )          Case No. 4:15-CV-00253-AGF
                                              )
CITY OF FERGUSON, MISSOURI                    )
                                              )
           Defendant.                         )


                            MEMORANDUM AND ORDER

       Named Plaintiffs Keilee Fant, Roelif Carter, Allison Nelson, Herbert Nelson, Jr.,

Alfred Morris, Shameika Morris, Anthony Kimble, Donyale Thomas, and Ronnie

Tucker, 1 filed this putative class-action complaint under 42 U.S.C. § 1983, alleging that

their constitutional rights were violated by Defendant City of Ferguson’s policies and

practices of jailing individuals in inhumane conditions when these individuals could not

pay bonds or other fines or fees, without inquiring into their ability to pay or considering

alternatives to detention, without a neutral determination of probable cause to justify their

continued confinement (in the case of warrantless arrests) or a first appearance before a

judge (in the case of arrests on warrants), and without affording them counsel.


1
       Daniel Jenkins and Tonya DeBerry were also named as Plaintiffs in this lawsuit.
Jenkins has since been voluntarily dismissed. See ECF Nos. 417 & 418. DeBerry passed
away during litigation. ECF No. 242. The personal representative of DeBerry’s estate,
John Narayan, was substituted in her place. See ECF No. 242. However, Narayan is not
being offered as a class representative. See ECF No. 430-1, Pl.’s Br. at 8 n.35. The Court
will ask Plaintiffs to address their plan with respect to disposition of Narayan’s claims.
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       The matter is now before the Court on Plaintiffs’ motion for class certification.

ECF No. 425, filed on November 19, 2021. 2 Plaintiffs move to certify five damages

classes and one class seeking declaratory and injunctive relief. The City opposes

Plaintiffs’ motion. The Court heard oral argument on May 24, 2022.

       Upon careful consideration of the parties’ briefs, evidence, and oral argument, and

for the reasons set forth below, the Court will grant Plaintiffs’ motion in part. The Court

will certify all of the classes but will modify the definition of certain of these classes.

Further, as discussed with the parties at the hearing, the Court will require supplemental

briefing regarding potential end-dates for certain class periods and regarding whether

Plaintiffs’ claims for declaratory and injunctive relief are moot or otherwise inappropriate

due to more recent changes to municipal policies and practices.

                                      BACKGROUND

       Named Plaintiffs Keilee Fant, Roelif Carter, Allison Nelson, Herbert Nelson, Jr.,

Alfred Morris, Shameika Morris, Anthony Kimble, Donyale Thomas, and Ronnie Tucker

were arrested and detained in the Ferguson jail at various points from 2010 through 2015.

The following facts are taken from the complaint and evidence attached to the current

motion, including arrest records.




2
       The decision whether to certify an action as a class action should ordinarily come
“at an early practicable time after a person sues . . . as a class representative.” Fed. R.
Civ. P. 23(c)(1)(A). However, the deadline for seeking class certification in this case was
extended multiple times at the joint request of the parties, due in part to multiple stays
during prior interlocutory appeals and following the disqualification of former defense
counsel, and in part to the parties conducting extensive and contentious discovery.
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Keilee Fant

       Fant was arrested in 2013 and 2014, on warrants for failure to appear on charges

associated with traffic violations and related fines. According to Fant, when she arrived

at the Ferguson jail in 2013, jail staff told her that she would be held indefinitely unless

she paid $1,400. She was not provided a court date. After three days, however, jail staff

informed her that they had decided to let her out for free. After her 2014 arrest, Ferguson

jail staff again told her that she would be held indefinitely unless she paid $1,400, and she

was not provided a court date. This time, Fant asked jail staff if they would accept

$1,000, which she believed her family could raise. A jail officer informed her that he

would call the Ferguson chief of police to ask if that amount was sufficient. The chief of

police then approved Fant’s release if Fant’s family could bring $1,000 to the “Ferguson

pay window,” but jail staff told Fant that she had to get the cash that night “or the deal

would be off.” ECF No. 53, Am. Comp. at ¶ 29. Fant’s family then paid $1,000, and

Fant was immediately released from the Ferguson jail. Upon release, Fant was told by

jail staff that she should not go to court and that she did not have any future court date but

should instead make cash payments at the Ferguson police department to avoid being

jailed again and to remove her arrest warrants. Id. at ¶¶ 30, 34.

       Fant alleges that she was jailed in the Ferguson jail “more than a dozen times” in

the two decades prior to filing suit. These arrests were on warrants for failure-to-appear

charges arising from traffic violations and related fines. On one occasion, she alleges that

she was held for nearly 50 days without a toothbrush, toothpaste, soap, shower, or change

of clothes. Id. at ¶¶ 20, 32. On other occasions, she was told that she would not receive

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feminine products for menstruation.

Roelif Carter

       Carter was arrested on a warrant in August of 2010, for failure to appear on

charges associated with traffic violations and related fines. He was informed by

Ferguson jail guards that he would not be released from jail unless he paid $600. Carter

alleges that he was too poor to afford that amount of money, and after three days in jail,

he was released without having paid any money and without a court appearance. After

his release, Carter was informed that his total fines had increased to more than $1,000.

Carter was not provided any explanation of the increase, but he was required to pay $100

per month without any inquiry into whether he could afford that amount.

       When he was unable to make these monthly payments in 2012 and 2013, he was

arrested on warrants for failure to appear each time and told by jail staff that he would be

held in jail unless he paid several hundred dollars. On each occasion, he told jail officials

that he was unable to afford the amount, and on each occasion he was released after three

days without having paid any money and without a court appearance. On each occasion,

the amount that he owed in total was increased.

       Carter was also arrested three times in 2014 without warrants for offenses such as

disorderly conduct, was told by Ferguson jail staff that he would not be released unless he

paid a few hundred dollars in cash, and was released after three days without payment

and without a court appearance.

       While incarcerated in the Ferguson jail, Carter was not provided a toothbrush,

toothpaste, hand soap, shower, or laundry. He also alleges that the toilet, floors, and

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walls contained excrement, mucus, and blood; that he had to drink from a water fountain

connected to the toilet; and that jail staff refused to provide him his necessary blood

pressure and other medications.

Allison Nelson

       Nelson was arrested on two occasions, in 2012 and 2013, on warrants for failure to

appear on charges resulting from traffic violations and related fines. On both occasions,

she was held in the Ferguson jail, having been transferred from another municipality’s

jail; told that she would be held indefinitely until she paid the amount alleged to be due

($700 and $1,000, respectively); negotiated with jail staff to pay a lower amount that her

family could afford; and was released after three or four days, when her family paid the

lower amount, all without a court appearance.

       While incarcerated in the Ferguson jail, Nelson was not provided a toothbrush,

toothpaste, or soap; she was held in dirty cells with dirty blankets; she drank from a water

fountain attached to the toilet; and she was given little or no nutritious food.

Herbert Nelson Jr.

       Nelson Jr. was arrested and transferred to the Ferguson jail from another

municipality’s jail four times, in 2011, 2013, and 2014, on warrants for failure to appear

on charges associated with traffic violations and related fines. On each occasion,

Ferguson jail staff told him he would be held in jail indefinitely until he paid $400;

Ferguson jail staff then agreed to accept a lower amount; and he was released after a day

when his mother paid the lower amount on his behalf. He was not provided a court

appearance.

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       While incarcerated, Nelson, Jr. was not provided a toothbrush, toothpaste, soap,

shower, or change of underwear. He was forced to sleep on the floor next to an unclean

toilet, his cell and blankets were dirty, he drank water from a fountain attached to a toilet,

and he was given little or no nutritious food. He also alleges that he was refused

treatment for a skin infection.

 Alfred Morris

       Alfred Morris was arrested on at least four occasions from 2010 through 2013, on

warrants for failure to appear charges associated with minor municipal ordinance

violations, such as drinking in public, and related fines, and, on one occasion, without a

warrant on a charge for failure to have an occupancy permit. On these occasions, he was

told by jail staff that he would be held indefinitely until he paid a set amount of money,

and when he did not pay, he was released after several hours or, on some occasions, one

or more days, without having paid any money and without a court appearance.

       On at least one occasion, Alfred Morris was released after being sent to the

hospital because of a medical emergency. While incarcerated, he was not provided a

shower or hand soap, and he was forced to sleep on the floor or on mats that had bed bugs

and lice. He also alleges that jail staff refused to provide him with his required blood

pressure and HIV medications.

Shameika Morris

       Shameika Morris was arrested on several occasions from 2010 to 2012, on

warrants for failure to appear resulting from a minor municipal offense and related fines.

On each occasion, she was told by jail staff that she would not be released until she paid

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several hundred dollars and, when she could not pay, she was held for a few days and, on

one occasion, for more than a week, until her family either paid a lower amount

negotiated with jail staff or she was released without payment. She was not given a court

appearance.

       While incarcerated, she was not provided a toothbrush, toothpaste, or soap; she

was offered a shower on only one occasion, which was during her first detention; and she

was forced to sleep in dirty cells with too few blankets and dirty water.

Anthony Kimble

       Kimble was arrested on several occasions from 2010 to 2012 on warrants for

failure to appear on charges associated with traffic violations and related fines. On each

occasion, he was told by jail staff that he would not be released until he paid several

hundred dollars, informed jail staff that he could not pay the money, and was released

after two or more days 3 when his family either paid the amount or a lower amount that he

negotiated with jail staff, or without paying any money. He never received a court

appearance.

       While incarcerated, Kimble was not provided with soap, a toothbrush, or

toothpaste; he was offered a shower on only one occasion; he slept in dirty, overcrowded

cells with too few beds and blankets; and he was given little or no nutritious food.




3
        On one of these occasions, he alleges that he spent nearly two weeks in jail while
jail staff attempted to negotiate a lower amount with him, before he was released for free
and without a court appearance.
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Donyale Thomas

       Thomas was arrested in 2011 on warrants for failure to appear on charges

associated with traffic violations and related fines. She was told by jail staff that she

would be held indefinitely, and jail staff later told her mother that Thomas could be

released if she paid several hundred dollars. Thomas could not afford to pay and was

kept in jail for more than a week, until jail staff stated that they would accept $200 and

Thomas’s mother paid that amount. Thomas did not receive a court appearance.

       While incarcerated, Thomas was forced to sleep on the floor in substantially the

same conditions as experienced by the other named Plaintiffs.

Ronnie Tucker

       Tucker was arrested in 2012 without a warrant on a charge of making a false

report. Jail staff told him that he would be held until he paid several hundred dollars.

When he did not pay after several days, he was released without a court appearance.

       While incarcerated, he was not provided a shower, soap, toothbrush, or toothpaste;

and he was forced to sleep on the floor in a dirty cell.

Plaintiffs’ Complaint

       Plaintiffs’ complaint alleges the following claims under 42 U.S.C. § 1983:

       Count One: jailing Plaintiffs for their inability to pay the City in violation
       of Plaintiffs’ rights under the Fourteenth Amendment’s Due Process and
       Equal Protection Clauses;

       Count Two: imprisoning Plaintiffs without appointing adequate counsel, in
       violation of Plaintiffs’ rights under the Sixth Amendment;

       Count Three: jailing Plaintiffs indefinitely without meaningful legal process
       by which to challenge the detention, in violation of the Due Process Clause;

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       Count Four: incarcerating Plaintiffs in deplorable conditions in violation of
       the Due Process Clause and Eighth Amendment;

       Count Five: treating Plaintiffs more harshly than individuals who owe
       money to private creditors, in violation of the Equal Protection Clause;

       Count: Six: issuing and serving invalid warrants based solely on
       nonpayment of monetary debt, in violation of the Fourth Amendment; and

       Count Seven: detaining Plaintiffs on warrantless arrests without a prompt,
       neutral finding of probable cause, in violation of the Fourth Amendment.

ECF No. 53, Am. Comp.

Proposed Classes

       Plaintiffs now move to certify five damages classes under Rule 23(b)(3) of the

Federal Rules of Civil Procedure, and one injunctive class under Rule 23(b)(2). They

define these classes as follows:

          1. Bearden 4 Class: All persons who have, at any time since February 8,
             2010, been kept in jail by the City of Ferguson for failing to pay a
             fine, fee, bond, surcharge, or cost, without an inquiry into their ability
             to pay (Count One).




4
       “Bearden” refers to Bearden v. Georgia, 461 U.S. 660 (1983), in which the
Supreme Court cited principles of due process and equal protection to hold that, before
imprisoning a probationer for failure to pay a court-ordered fine, “a sentencing court must
inquire into the reasons for the failure to pay,” and “[i]f the probationer could not pay
despite sufficient bona fide efforts to acquire the resources to pay, the court must
consider alternate measures of punishment other than imprisonment” and may imprison
“[o]nly if alternate measures are not adequate to meet the State’s interests[.]” 461 U.S. at
672.

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               a. Gerstein 5 Class (a subclass of the Bearden Class) 6: All persons
                  who have, at any time since February 8, 2010, been held in jail by
                  the City of Ferguson after a warrantless arrest for longer than a
                  reasonable period of time (48 hours at a maximum or such shorter
                  period of time as the Court may determine) prior to a finding of
                  probable cause by a neutral magistrate for their arrest and
                  continued detention (Count Seven).

               b. Warrant Class (a subclass of the Bearden Class): All persons who
                  have, at any time since February 8, 2010, been held in jail by the
                  City of Ferguson after being arrested on a warrant issued by the
                  City (Count Three).

               c. Post-Judgment Class (a subclass of the Bearden Class): All
                  persons who have, at any time since February 8, 2010, been jailed
                  by the City of Ferguson because of their non-payment in
                  connection with a prior judgment (Counts Two, Five, and Six).

           2. Jail-Conditions Class: All persons who, at any time since February 8,
              2010, were held in the City of Ferguson jail (Count Four).

           3. Declaratory and Injunctive Class: All persons who currently owe or
              who will incur debts to the City of Ferguson from fines, fees, costs, or
              surcharges arising from judgments in cases prosecuted by the City
              (Counts Two, Five, and Six).

 ECF No. 430-1 at 16-18. The City opposes class certification on several grounds,

 discussed in more detail below.




 5
         “Gerstein” refers to Gerstein v. Pugh, 420 U.S. 103 (1975), in which the Supreme
 Court held that “the Fourth Amendment requires a timely judicial determination of
 probable cause as a prerequisite to detention,” and that a state procedure whereby
 individuals arrested without warrants were jailed pending trial without any opportunity
 for a probable cause determination violated the Fourth Amendment. 420 U.S. at 106-26.
 6
         At oral argument, Plaintiffs’ counsel represented that the Gerstein, Warrant, and
 Post-Judgment Classes were all subclasses of the Bearden Class; that members of these
 subclasses would also be members of the larger Bearden Class but would be asserting
 relief for unlawful detention based on alternative legal theories; and that they would not
 seek duplicative damages.
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                                        DISCUSSION

 Legal Standard

        “To be certified as a class, plaintiffs must meet all of the requirements of Rule

 23(a) and must satisfy one of the three subsections of Rule 23(b).” In re St. Jude Med.,

 Inc., 425 F.3d 1116, 1119 (8th Cir. 2005) (citation omitted). “A party seeking class

 certification must affirmatively demonstrate his compliance with Rule 23.” Hudock v.

 LG Elecs. U.S.A., Inc., 12 F.4th 773, 775 (8th Cir. 2021) (citation omitted). “The movant

 must, among other things, satisfy “through evidentiary proof at least one of the

 provisions of Rule 23(b).” Id. at 775–76.

        Certification of a class is proper only if, after “rigorous analysis,” the Court is

 satisfied that the Rule 23 requirements are met. Wal-Mart Stores, Inc. v. Dukes, 564 U.S.

 338, 350-51 (2011) (internal quotation marks and citation omitted). Although that

 “rigorous analysis” may frequently entail some overlap with the merits of the underlying

 claims, see id. at 351, “[m]erits questions may be considered only to the extent that they

 are relevant to determining whether the Rule 23 prerequisites for class certification are

 satisfied.” Amgen Inc. v. Connecticut Ret. Plans & Trust Funds, 568 U.S. 455, 466

 (2013). “[The Court’s] primary task is not to determine the final disposition of a

 plaintiff’s claims, but instead to examine whether those claims are appropriate for class

 resolution.” Postawko v. Missouri Dep’t of Corr., 910 F.3d 1030, 1037 (8th Cir. 2018).

 Standing

        As a preliminary matter, the City contends that no class may be certified because

 each proposed class purports to include members who did not have standing because they

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 were not jailed at the time the complaint was filed, on February 8, 2015, regardless of

 whether they were later jailed by the City. Citing Avritt v. Reliastar Life Ins. Co., 615

 F.3d 1023 (8th Cir. 2010), and its holding that “a class cannot be certified if it contains

 members who lack standing,” id. at 1034, the City argues that for any putative class to be

 certified, each known and unknown member of the class had to have suffered a claimed

 injury as of the date the complaint was filed.

        As Judge Catherine D. Perry recently ruled in a similar case, “[t]he City’s reliance

 on Avritt is misplaced.” See Webb v. City of Maplewood, 340 F.R.D. 124, 135 (E.D. Mo.

 2021). A close reading of Avritt demonstrates that the Eighth Circuit’s holding was

 simply that a named plaintiff cannot represent a class of persons “who could not have

 been injured by the defendant’s conduct at any time” and, thus, “could never bring a suit

 themselves.” See id. (citing Avritt, 615 F.3d at 1034) (emphasis in Webb). But nothing

 in Avritt contradicts the general rule that “[a] putative class action can proceed as long as

 one named plaintiff has standing” when the case was filed, In re SuperValu, Inc., 870

 F.3d 763, 768 (8th Cir. 2017), provided that the class is defined in a manner that includes

 only those that would have suffered an injury under Article III, Avritt, 615 F.3d at 1034.

 Merits and Mootness Defenses

        The City also raises two defenses that the Court does not believe are appropriate

 for resolution at this stage. First, the City argues that the Ferguson municipal court is

 responsible for the setting of bond, review of arrestees’ ability to pay bond, probable

 cause determinations, and issuance of warrants. The City argues that the municipal court,

 as a division of the state courts, is a state actor over which the City lacks control. Thus,

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 the City argues that several of the practices that Plaintiffs claim are unlawful are not

 attributable to the City but to the state of Missouri.

        The City has alluded to this argument in the past, most recently in an attempt to

 invoke sovereign immunity that this Court and the Eighth Circuit rejected. See ECF Nos.

 173 & 204; see also Webb v. City of Maplewood, 889 F.3d 483 (8th Cir. 2018) (rejecting

 a similar sovereign immunity argument). However, the City has never presented this

 causation-based argument in a manner that would permit the Court to address its merits.

 The City still has not done so. The issue of causation in this context does not affect the

 Court’s analysis under Rule 23. Whether the City (as opposed to the state or another

 entity) is the moving force behind the alleged constitutional violations here, as required

 under § 1983, is a question common to the class. The answer will likewise be common.

        Second, the City argues that Plaintiffs’ claims for declaratory and injunctive relief

 are moot in light of changes to Missouri law and Ferguson municipal court practices, 7


 7
         These changes include a new bond schedule issued by the Ferguson municipal
 court on December 18, 2014, which provides that if a defendant is unable to post bond as
 required by the schedule within 12 hours, the defendant “shall be released on his/her own
 recognizance.” ECF No. 446-8, Def.’s Ex. H. The changes also include Missouri’s
 Senate Bill 5, which became effective on August 28, 2015, and which required state-wide
 reforms to the municipal court system. Among these reforms were that anyone in
 custody pursuant to an arrest warrant “have an opportunity to be heard by a judge . . . as
 soon as practicable and not later than forty-eight hours on minor traffic violations and not
 later than seventy-two hours on other violations and, if not given that opportunity, are
 released.” Mo. Rev. Stat. § 479.360.1(1). Senate Bill 5 further prohibited detention for
 the purpose of “coerc[ing] payment of fines and costs” unless the detainee was found to
 be in contempt; and the bill required municipal courts to “establish[] procedures to allow
 indigent defendants to present evidence of their financial condition and [to] take[] such
 evidence into account if determining fines and costs and establishing related payment
 requirements.” Id. §§ 479.360.1(3)-(4). As to warrantless arrests, Senate Bill 5 provided
 that “[d]efendants in municipal custody shall not be held more than twenty-four hours
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 and a Consent Decree that the City previously entered with the Department of Justice in

 United States v. City of Ferguson, Case No. 4:16-cv-00180-CDP (E.D. Mo.), which

 addressed municipal court reforms. Although mootness is a justiciability issue that the

 Court may address at any stage, the City bears the burden of demonstrating mootness.

 See Strutton v. Meade, 668 F.3d 549, 556 (8th Cir. 2012) (The burden of showing that the

 challenged conduct is unlikely to recur rests on the party asserting mootness.”). The City

 has not presented a sufficient record to do so here.

        The City devotes only a few sentences of its 70-page memo to arguing in

 conclusory fashion that “[i]t is beyond dispute that changes in the law and further

 changes mandated by the DOJ Consent Decree resulted from substantial deliberation and

 are permanent in nature,” such that the equitable claims are moot. ECF No. 446 at 77.

        The Court will thus limit its discussion of Plaintiffs’ claims for declaratory and

 injunctive relief to determining whether Plaintiffs have satisfied the requirements of Rule

 23. However, the City may make a properly supported mootness argument and/or

 address the appropriateness of injunctive relief 8 in the context of supplemental briefing

 that the Court will require regarding proposed end-dates for the Rule 23(b)(3) class




 without a warrant after arrest.” Id. § 479.360.1(2). Aside from these municipal court
 changes, the municipal policies and practices alleged here changed as a practical matter
 when the Ferguson jail ceased operating in 2017.
 8
         See Dixon v. City of St. Louis, 950 F.3d 1052, 1056 (8th Cir. 2020), as
 corrected (Mar. 23, 2020) (holding that district courts must adequately account for the
 effect of state-court rule changes on the question of whether injunctive relief “serves the
 public interest in comity between the state and federal judiciaries” and must also consider
 “the necessity of an injunction” in light of the most recent course of conduct).
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 periods, as discussed below.

 Ascertainability

        Before considering the explicit requirements set forth in Rule 23, the Court must

 also be satisfied that the proposed class is ascertainable. Sandusky Wellness Ctr., LLC v.

 Medtox Sci., Inc., 821 F.3d 992, 995 (8th Cir. 2016). The Eighth Circuit has not

 addressed whether ascertainability is a “separate, preliminary requirement” of class

 certification, but it has confirmed that ascertainability is at least an implicit requirement

 that must be enforced as part of the “rigorous analysis” of Rule 23’s requirements. Id. at

 996; McKeage v. TMBC, LLC, 847 F.3d 992, 998 (8th Cir. 2017). And where, as here, a

 dispute arises regarding the method for identifying class members, “an independent

 discussion of whether a class is ascertainable” is warranted. McKeage, 847 F.3d at 998.

        “A class may be ascertainable when its members may be identified by reference to

 objective criteria.” Id. at 998 (citing Sandusky, 821 F.3d at 996). Ascertainability is

 especially important in Rule 23(b)(3) classes because of the need to notify absent class

 members and allow those members an opportunity to opt out. See Mullins v. Direct

 Digital, LLC, 795 F.3d 654, 660 (7th Cir. 2015) (noting that vagueness in a class

 definition “is a problem because a court needs to be able to identify who will receive

 notice, who will share in any recovery, and who will be bound by a judgment”); Cole v.

 City of Memphis, 839 F.3d 530, 541 (6th Cir. 2016).

        Open-ended class periods may present ascertainability problems for the proposed




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 Rule 23(b)(3) classes. 9 See Vasquez v. Leprino Foods Co., No. 117CV00796AWIBAM,

 2020 WL 1527922, at *9 (E.D. Cal. Mar. 31, 2020) (“[T]he proposed end date for the

 class period — ‘until resolution of this action’ — is not ascertainable. An end date of

 ‘until resolution’ or ‘until the present’ creates ‘a moving target and presents potential

 case management problems.’”); Hart v. Rick’s NY Cabaret Int'l, Inc., No. 09 CIV.

 3043(PAE), 2013 WL 11272536, at *5 (S.D.N.Y. Nov. 18, 2013) (“Lack of clarity as to

 the end date of the class period also has the potential to confuse putative class members

 as to whether their interests will, or will not, be represented in the pending lawsuit.”).

        Recognizing this potential problem, the Court discussed with counsel at the

 hearing several alternative end-dates that the Court could impose with respect to the Rule

 23(b)(3) classes. These alternatives corresponded with changes to the Ferguson

 municipal court’s and Ferguson jail’s policies and practices that, as noted above, have

 been separately identified by the City as grounds for establishing mootness.

        As discussed with counsel at the hearing and for the reasons stated at that hearing,

 the Court will ask the parties to file supplemental briefs addressing the proposed end-

 dates, the question of mootness, and/or the appropriateness of injunctive relief.

 Following such briefing, the Court will determine whether and how to revise the class

 definitions in order to impose end-dates on the class periods, and may also determine

 whether Plaintiffs’ request for declaratory and injunctive relief is moot or should



 9
        The Declaratory and Injunctive Class does not suffer from this problem because
 “the very nature of an injunctive class contemplates that there will be class members who
 can only be determined in the future.” Webb, 340 F.R.D. at 138.
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 otherwise be denied as a matter of law.

 Rule 23(a)

         Rule 23(a) allows individuals to sue on behalf of a class if: (1) the class is so

 numerous that joinder of all members is impracticable (numerosity); (2) there are

 questions of law or fact common to the class (commonality); (3) the claims or defenses of

 the representative parties are typical of the claims or defenses of the class (typicality);

 and (4) the representative parties will fairly and adequately protect the interests of the

 class (adequacy). Fed. R. Civ. P. 23(a).

         With respect to commonality, the common question “must be of such a nature that

 it is capable of classwide resolution—which means that determination of its truth or

 falsity will resolve an issue that is central to the validity of each one of the claims in one

 stroke.” Dukes, 564 U.S. at 350. “What matters to class certification is not the raising of

 common ‘questions’—even in droves—but rather, the capacity of a class-wide

 proceeding to generate common answers apt to drive the resolution of the litigation.

 Dissimilarities within the proposed class are what have the potential to impede the

 generation of common answer.” Id. (emphasis in original).

 Rule 23(b)

    I.      Rule 23(b)(2)

         Rule 23(b)(2) applies to the Declaratory and Injunctive Class and requires that

 defendants have “acted or refused to act on grounds that apply generally to the class, so

 that final injunctive relief or corresponding declaratory relief is appropriate respecting the

 class as a whole.” Class claims under Rule 23(b)(2) must be cohesive, “in that ‘the relief

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 sought must perforce affect the entire class at once.’” Ebert v. General Mills, Inc., 823

 F.3d 472, 480 (8th Cir. 2016) (quoting Dukes, 564 U.S. at 361-62) (emphasis in Ebert).

    II.      Rule 23(b)(3)

          Rule 23(b)(3) applies to the damages classes and requires that “the questions of

 law or fact common to class members predominate over any questions affecting only

 individual members” (predominance), and that a class action “is superior to other

 available methods for fairly and efficiently adjudicating the controversy” (superiority).

 Fed. R. Civ. P. 23(b)(3). “The predominance requirement is ‘demanding’; a court

 considering certification pursuant to Rule 23(b)(3) must take a ‘close look at whether

 common questions predominate over individual ones.’” Hudock v, 12 F.4th at 776.

          “Predominance subsumes the commonality requirement, so both can be analyzed

 through the lens of predominance.” Custom Hair Designs by Sandy v. Cent. Payment

 Co., LLC, 984 F.3d 595, 601 (8th Cir. 2020). “The predominance inquiry ‘asks whether

 the common, aggregation-enabling, issues in the case are more prevalent or important

 than the non-common, aggregation-defeating, individual issues.’” Tyson Foods, Inc. v.

 Bouaphakeo, 577 U.S. 442, 453 (2016). “An individual question is one where members

 of a proposed class will need to present evidence that varies from member to member,

 while a common question is one where the same evidence will suffice for each member

 to make a prima facie showing or the issue is susceptible to generalized, class-wide

 proof.” Johannessohn v. Polaris Indus. Inc., 9 F.4th 981, 984–85 (8th Cir. 2021).

          Moreover, the calculation of damages must be based on a model applicable to all

 members of the class. Comcast Corp. v. Behrend, 569 U.S. 27, 35 (2013); Cromeans v.

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 Morgan Keegan & Co., Inc., 303 F.R.D. 543, 559 (W.D. Mo. 2014). If the measure of

 damages is based on a common model linked to plaintiffs’ theory of liability, individual

 assessments of damages do not erode Rule 23(b)(3)’s predominance factor. See Day v.

 Celadon Trucking Servs., Inc., 827 F.3d 817, 833 (8th Cir. 2016).

 Bearden Class Under Rule 23(b)(3)

        As noted above, Plaintiffs seek Rule 23(b)(3) certification of the Bearden class,

 which they define as:

        All persons who have, at any time since February 8, 2010, been kept in jail
        by the City of Ferguson for failing to pay a fine, fee, bond, surcharge, or cost,
        without an inquiry into their ability to pay (Count One).

        Plaintiffs contend that members of this class were jailed for failure to pay or

 failure to appear on minor municipal ordinance violations with related fines; were held

 for periods of hours or days because they could not afford bond; and were never provided

 a hearing to assess their ability to pay bond.

        The City argues that the Bearden class should not be certified because Plaintiffs

 fail to demonstrate ascertainability, typicality, commonality, predominance, and

 superiority 10 in that (1) the class definition fails to distinguish between indigent and non-


 10
         The City does not contest that Bearden and other proposed classes satisfy the
 numerosity and adequacy factors, and the Court concludes that these factors are satisfied
 with respect to all proposed classes. Specifically, the parties do not dispute that
 membership in each of the classes ranges from more than 1,000 to more than 10,000
 individuals, which is sufficiently numerous such that joinder of all members would be
 impracticable. Further, Plaintiffs’ counsel represented at the hearing (and the City did
 not dispute) that the vast majority of these individuals were arrested prior to 2015, such
 that even if the Court after supplemental briefing imposes end-dates with respect to some
 or all of the Rule 23(b)(3) classes, numerosity would still be satisfied.

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 indigent class members, (2) the applicable standard is one of “reasonableness,” which is

 an inherently individualized inquiry, and (3) damages cannot be determined on a

 classwide basis.

    I.      Indigency

         As an initial matter, the Court is not convinced that an inmate’s right to an ability-

 to-pay inquiry, which courts have considered under both the Equal Protection and Due

 Process Clauses, depends on his or her indigence. See, e.g., Cain v. City of New Orleans,

 327 F.R.D. 111, 124 (E.D. La. 2018) (“[A] putative class member’s right to an ability-to-

 pay inquiry does not depend on indigence; the procedural protections required by the

 Supreme Court in Bearden apply equally to indigent and non-indigent individuals.”).

 Regardless, the proposed class is, by definition, limited to the indigent “given that most

 people would not willingly stay incarcerated if their financial circumstances permitted

 them to avoid it.” Webb, 340 F.R.D. at 139 (quoting Dixon v. City of St. Louis, No. 4:19-

 CV-0112-AGF, 2021 WL 616153, at *7 (E.D. Mo. Feb. 17, 2021)). In light of the City’s

 failure to conduct indigency hearings or create any record from which to otherwise

 determine an individual’s indigence, 11 the Court concludes that the Bearden Class is

 sufficiently limited to the indigent.




        As to adequacy, the Court is confident based on the record and the conduct of
 counsel and parties throughout this litigation that the named Plaintiffs’ interests are
 aligned with those of the putative classes and that their attorneys are competent to
 prosecute the action.
 11
        See Tyson Foods, 577 U.S. at 456 (discussing the evidentiary consequences of a
 defendant’s failure to keep adequate records).
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          Moreover, each of the named Plaintiffs offered as a class representative is a proper

 representative of this class and satisfies the typicality factor, as each alleges that he or she

 was assessed a fine, fee, bond, surcharge, or cost; was unable to pay the amount required;

 and was jailed as a result thereof, without an inquiry into his or her ability to pay.

    II.      Reasonableness

          The City next contends that the standard to establish a constitutional violation

 regarding the timing of any required hearing in this context is one of “reasonableness,”

 which is an inherently individualized inquiry. The City cites County of Riverside v.

 McLaughlin, 500 U.S. 44 (1991) and its progeny such as Portis v. City of Chicago, 613

 F.3d 702 (7th Cir. 2010), to argue that Plaintiffs must prove that any delay in their release

 from detention was unreasonable.

          County of Riverside and Portis, in turn, both derived from Gerstein v. Pugh, 420

 U.S. 103. Like Gerstein, both involved Fourth Amendment claims by individuals

 arrested without warrants and challenging the length of their pretrial detention prior to a

 judicial hearing on the issue of probable cause. Plaintiffs in the instant case assert a

 somewhat similar Fourth Amendment claim in Count Seven of their complaint.

          But the Bearden Class falls under Count One of Plaintiffs’ complaint, which

 asserts a hybrid due process and equal protection claim. The basis for the City’s liability

 with respect to the Bearden Class is whether the City had a policy and practice of jailing

 people for failure to pay without any consideration of their ability to pay, in violation of

 due process and equal protection. The City’s reliance on Fourth Amendment caselaw



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 regarding prompt determinations of probable cause after warrantless arrests is therefore

 inapposite.

        Nevertheless, even if the Court were to apply the reasoning of County of Riverside

 and Portis here, class certification would not be precluded. County of Riverside involved

 a class action alleging that the manner in which a county provided probable cause

 determinations to persons arrested without a warrant violated the Fourth Amendment.

 500 U.S. 44, 47. The California process at issue combined probable cause determinations

 with arraignment procedures and provided that the combined arraignment/probable cause

 hearing must be held within two days of arrest but excluded weekends and holidays, such

 that the delay for a probable cause determination could be as long as five days. Id.

        The Supreme Court held that the Fourth Amendment does not compel immediate

 determination of probable cause upon completion of the administrative steps incident to a

 warrantless arrest, but that jurisdictions must hold probable cause determinations as soon

 as is reasonably feasible. Id. at 54-57. The Court also imposed a presumptively

 reasonable standard of 48 hours and concluded that counties who hold judicial

 determinations of probable cause no later than 48 hours after arrest are generally immune

 from systemic challenges, such as class actions. Id. at 56. But the Court noted that a

 hearing within 48 hours may still violate the Fourth Amendment if the arrested individual

 could prove the probable cause determination was delayed unreasonably, such as delay

 for delay’s sake. Id. at 56-57.

        Portis relied on County of Riverside to hold that a class action was improperly

 certified under Rule 23(b)(3) where the plaintiffs challenged a city practice of

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 unconstitutionally delaying release of persons arrested for non-jailable, fine-only

 ordinance violations, for more than two hours. 613 F.3d at 703. The plaintiffs in that

 case reasoned that taking any more than two hours to perform all the administrative steps

 necessary to determine the arrestees’ eligibility for release was inherently unreasonable

 under the Fourth Amendment. Id. The Seventh Circuit held that district courts cannot

 establish a numerical definition of a reasonable detention and that the rationale of County

 of Riverside’s 48-hour burden-shifting approach was to inform courts that

 “reasonableness must be assessed one case at a time.” Id. at 703-04. The Seventh Circuit

 then concluded that “[b]ecause reasonableness is a standard rather than a rule, and

 because one detainee’s circumstances differ from another’s,” common questions in that

 case did not predominate and the class did not satisfy Rule 23(b)(3). Id. at 705.

        However, the Seventh Circuit went on to note that County of Riverside’s “48–hour

 burden-shifting approach does not apply when the police don’t plan to present the suspect

 to a magistrate for a probable-cause hearing.” Id. at 704. The Seventh Circuit likewise

 recognized that “class treatment might be appropriate if the class sought to establish that

 a jurisdiction had adopted a policy of deliberate delay.” Id. at 705. Thus, the circuit did

 “not foreclose the possibility” of classwide relief in the case before it, but it noted that the

 record in that case had not yet established such deliberate delay. Id. at 705-06.

        In this case, Plaintiffs have in fact alleged deliberate delay with respect to both the

 Bearden Class and the Gerstein Class. It is on this basis that another judge of this Court

 rejected a similar argument that the City of Maplewood asserted in a response to a



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 proposed class challenging that municipality’s practices with respect to its municipal jail.

 As that judge noted:

        The City misses the mark on plaintiffs’ theory of liability for this Class. The
        periods of detention for [the] named plaintiffs ranged from 3 hours to more
        than 44 hours. Regardless of these varied durations and the plaintiffs’
        eventual release with or without payment of bond, it is the fact of their
        detention without any consideration given to their ability to pay to secure
        their release that is the thread that connects the legal and remedial theories
        of plaintiffs and the putative class members. And the City’s established
        policy, practice, or procedure of not considering a person’s ability to pay at
        all renders the presumptively reasonable 48-hour period of detention
        meaningless. . . . [According to the plaintiffs,] the policy of holding these
        persons without inquiring into their ability to pay served the City’s purpose
        of extracting any monies it could before releasing them – whether it be full
        bond after 3 hours or a reduced bond or no bond as the 48-hour mark
        approached. The City held these persons as long as it could until either they
        could scrounge up some money for bond or an arbitrary decision had to be
        made to release them without payment of bond. Accordingly, . . . the delay
        in releasing these persons was merely for delay’s sake. Given this alleged
        purpose for keeping these persons in jail – whether it be for one hour after
        booking, 7 hours, or 47 hours and 59 minutes – this detention is not
        “reasonable” as the City argues.

 Webb, 340 F.R.D. at 141–42 (emphasis in original).

        The same holds true in this case, in which Plaintiffs assert substantially similar

 claims. Plaintiffs’ theory of liability with respect to the Bearden Class is that the class

 members’ detentions were uniformly unreasonable because, as a matter of City policy or

 custom, they were held in the Ferguson jail as long as it took to extract money for a bond,

 without any consideration of their ability to pay, or until an arbitrary decision was made

 to release them without payment. Such a policy or practice, if proven, is subject to

 common proof. See id. at 142 (holding that “[a]ny period of detention based solely on a

 failure to pay without an inquiry into indigency is a common question subject to common


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 proof,” regardless of the length of such detention, the amount of the bond, or whether the

 bond was paid in part, in full, or not at all).

     Damages

        Plaintiffs contend they will seek damages for each hour spent in jail beyond the

 estimated two hours to complete booking, reasoning that such hours of detention were

 unlawfully based on their failure to pay without inquiry into their ability to pay. This

 model for calculating damages is linked to Plaintiffs’ theory of liability and is applicable

 to all members of the Class.

        “The damages recoverable for the loss of liberty for the period spent in a wrongful

 confinement are separable from damages recoverable for such injuries as physical harm,

 embarrassment, or emotional suffering.” Webb v. City of Maplewood, No. 4:16 CV 1703

 CDP, 2021 WL 5371247, at *2 (E.D. Mo. Nov. 18, 2021) (quoting Betances v. Fischer,

 304 F.R.D. 416, 431 (S.D.N.Y. 2015)). Such general damages “would include at least

 the value of the time lost by the plaintiff during the period of detention,” and thus “do not

 turn on any individual characteristics of any class members.” Id. (quoting Betances, 304

 F.R.D. at 431 and collecting other cases for the same proposition).

        Plaintiffs also proffer common proof of the number of hours that each class

 member was wrongfully detained through their expert, Stephen Demuth, Ph.D. Based on

 Dr. Demuth’s analysis of the municipal court records, Plaintiffs have offered

 representative evidence that the median amount of time that City officials took to

 complete administrative steps incident to arrest during the class period was

 approximately two hours. This evidence is appropriate for the Court’s consideration in

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 light of the City’s failure to maintain records necessary for more accurate calculations.

 See Tyson Foods, 577 U.S. at 456 (recognizing that it is appropriate for class plaintiffs

 “to introduce a representative sample to fill an evidentiary gap created by the

 [defendant’s] failure to keep adequate records”).

        Further, to the extent that the City wishes to argue in defense that some portion of

 certain class members’ detentions were due to reasons unrelated to Plaintiffs’ theory of

 liability, such as detention on a warrant from another jurisdiction, the data necessary to

 make such an argument is available in the municipal court records. Indeed, Plaintiffs’

 expert, Dr. Demuth, has already identified from such records those arrests that involved

 warrants from another jurisdiction. And because the municipal records do not delineate

 the amount of time held on an outside warrant versus a Ferguson warrant or charge, the

 City would be asking the Court to make assumptions regarding such delineation,

 regardless of whether these claims were pursued on an individual or classwide basis. 12

 For all of these reasons, individual assessments of damages do not erode Rule 23(b)(3)’s

 predominance factor.

        Finally, the Court concludes that certification of this class is superior to individual

 litigation. The class includes thousands of allegedly indigent persons who would be


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        Representative evidence could be used in mounting such a defense. See Tyson
 Foods, 577 U.S. at 454–55 (“A representative or statistical sample, like all evidence, is a
 means to establish or defend against liability. Its permissibility turns not on the form a
 proceeding takes—be it a class or individual action—but on the degree to which the
 evidence is reliable in proving or disproving the elements of the relevant cause of
 action.”). For example, Dr. Demuth has estimated that the median amount of time that
 inmates were held in the Ferguson jail solely on warrants from other jurisdictions was
 approximately five hours. See ECF No. 466-1 at 21, 24 n.14.
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 unlikely to commence litigation on their own behalf. See D’Alauro v. GC Servs. Ltd.

 P'ship, 168 F.R.D. 451, 458 (E.D.N.Y. 1996) (“It is appropriate for the court to consider

 the inability of the poor or uninformed to enforce their rights and the improbability that

 large numbers of class members would possess the initiative to litigate individually.”).

 Resolution of their claims in a single forum would also serve judicial economy interests.

        Accordingly, the Court will certify the Bearden Class under Rule 23(b)(3) and

 appoint named Plaintiffs Fant, Carter, Nelson, Nelson, Jr., Alfred Morris, Shameika

 Morris, Kimble, Thomas, and Tucker as Class Representatives. However, as noted

 above, the Court may revise this class definition based on the expected supplemental

 briefing in order to impose an end-date for the class period. See Fed. R. Civ. P.

 23(c)(1)(C) (“An order that grants or denies class certification may be altered or amended

 before final judgment.”).

           A. Gerstein Class Under Rule 23(b)(3)

        Next, Plaintiffs seek Rule 23(b)(3) certification of the Gerstein class, which

 Plaintiffs describe as a subclass of the Bearden Class and define as:

        All persons who have, at any time since February 8, 2010, been held in jail
        by the City of Ferguson after a warrantless arrest for longer than a reasonable
        period of time (48 hours at a maximum or such shorter period of time as the
        Court may determine) prior to a finding of probable cause by a neutral
        magistrate for their arrest and continued detention (Count Seven).

 ECF No. 430-1 at 17.

        Plaintiffs contend that members of this subclass were arrested without a warrant

 and held for hours or days without probable-cause hearings because the City maintained a

 policy of never providing probable-cause hearings to warrantless arrestees.

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        Reasserting many of the same arguments that it raised with respect to the Bearden

 class, the City argues that the Gerstein subclass should not be certified because Plaintiffs

 fail to demonstrate ascertainability, typicality, commonality, predominance, and

 superiority in that (1) the applicable standard is one of “reasonableness,” which is an

 inherently individualized inquiry; (2) the class definition fails to distinguish between

 those whose arrests were supported by probable cause and those whose arrests were not;

 and (3) damages cannot be determined on a classwide basis.

            1. Reasonableness

        The City again cites County of Riverside and Portis to argue that the standard to

 establish a constitutional violation here is an inherently individualized “reasonableness”

 inquiry, and that Plaintiffs must prove that any delay in holding a probable cause hearing

 was both unreasonable and lasted longer than 48 hours.

        Again, the City misses the mark. Although the Gerstein subclass, like the

 plaintiffs in County of Riverside and Portis, alleges a Fourth Amendment violation on

 behalf of individuals arrested without a warrant, the nature of the subclass’s claim differs

 from that alleged in those cases. In particular, the subclass does not merely challenge the

 “manner” in which the City provides probable cause determinations as in County of

 Riverside, 500 U.S. at 47, or the length of time that the City alleges takes to complete

 administrative steps incident to arrest as in Portis.

        Rather, the Gerstein subclass alleges that the Ferguson police “don’t plan to

 present [persons arrested without a warrant] to a magistrate for a probable-cause

 hearing”—at least they did not until Senate Bill 5 was made effective. See Portis, 613

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 F.3d at 704. Specifically, Plaintiffs allege that no process existed by which those arrested

 without a warrant would ever be provided a probable cause hearing. Thus, Plaintiffs’

 claim is more like that asserted in Gerstein itself, in which an injunctive class was

 certified that challenged a Florida procedure under which “a person arrested without a

 warrant and charged by information [could] be jailed or subjected to other restraints

 pending trial without any opportunity for a probable cause determination.” Gerstein, 420

 U.S. at 116 (emphasis added). In such cases, County of Riverside’s “48-hour burden-

 shifting approach does not apply.” See Portis, 613 F.3d at 704.

         In other words, reasonableness in this case does not turn on whether class

 members were held for too long (as in County of Riverside and Portis) but whether they

 were held for reasons unrelated to the arrangement of the probable-cause determination

 or completion of the steps incident to arrest—reasons such as revenue generation. See.

 e.g., MacNamara v. City of New York, 275 F.R.D. 125, 150 (S.D.N.Y. 2011) (granting

 class certification of an excessive detention claim under Rule 23(b)(3) where “[t]he

 central and predominant focus of the class action suit [was] not the mere length of

 detention for . . . arrestees, but the existence of a policy to detain them longer than would

 otherwise be required.”); see also County of Riverside, 500 U.S. at 70 (Scalia, J.,

 dissenting) (“[A]bsent extraordinary circumstances, it is an ‘unreasonable seizure’ within

 the meaning of the Fourth Amendment for the police, having arrested a suspect without a

 warrant, to delay a determination of probable cause for the arrest either (1) for reasons

 unrelated to arrangement of the probable-cause determination or completion of the steps

 incident to arrest, or (2) [for too long] after the arrest.”) (emphasis added).

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        The success or failure of every class member’s claim turns on proof that no

 process existed by which those arrested without a warrant would have an opportunity for

 a probable cause determination. 13 That proof will be common to the class.

        With this understanding of Plaintiffs’ legal theory, it is unclear why Plaintiffs

 reference the 48-hour safe harbor in their proposed class definition. See ECF No. 430-1

 at 17 (defining the Gerstein Class to include those held in jail after a warrantless arrest

 “for longer than a reasonable period of time (48 hours at a maximum or such shorter

 period of time as the Court may determine) prior to a finding of probable cause . . . .”).

 However, at oral argument, Plaintiffs’ counsel clarified that the reference was an

 alternative to be imposed only if the Court rejected Plaintiffs’ argument that the 48-hour

 safe harbor did not apply.

        Because the Court in fact agrees with Plaintiffs’ argument, and in order to capture

 class members with common claims under Plaintiffs’ legal theory and satisfy Rule 23, the

 Court will modify the class definition as follows: All persons who have, at any time since

 February 8, 2010, been held in jail by the City of Ferguson after a warrantless arrest with

 no finding of probable cause by a neutral magistrate for their arrest and continued

 detention (Count Seven) (the “Modified Gerstein Class”). As with the Bearden Class,

 the Court may further revise this class definition following supplemental briefing on the

 parties’ proposed end-dates. See Fed. R. Civ. P. 23(c)(1)(C).


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        Whether the City, rather than another entity, was the moving force behind this
 alleged constitutional violation is a merits question that would impact the class uniformly
 and, therefore, does not change the Court’s Rule 23 analysis.

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        So modified, the class satisfies both the commonality and predominance

 requirements of Rule 23(a) and (b)(3). Moreover, the three named Plaintiffs offered as

 class representatives—Carter, Tucker, and Alfred Morris—are proper representatives of

 this class and satisfy the typicality factor, as each alleges that he was arrested without a

 warrant and held with no prospect of receiving a probable cause determination.

           2. Identifying Warrantless Arrests That Were Supported by Probable Cause

        The City likewise misses the mark when it argues that the class definition must

 distinguish between those whose warrantless arrests were supported by probable cause

 and those whose arrests were not. The very point of the Modified Gerstein Class

 members’ claims is that they were never afforded any determination of probable cause.

 The City’s failure to hold a probable-cause hearing and its alleged policy or practice to

 never hold such a hearing is the claimed constitutional violation here. According to

 Plaintiffs, probable cause was never determined for any of the warrantless arrests and

 detentions at issue.

           3. Damages

        As with the Bearden Class, Plaintiffs’ damages calculations for the Modified

 Gerstein Class are based on how long each class member spent in the Ferguson jail

 beyond an estimated two hours for completing any administrative steps incident to arrest.

 Such general damages again “include at least the value of the time lost by the plaintiff

 during the period of detention,” and thus “do not turn on any individual characteristics of

 any class members.” Webb, 2021 WL 5371247, at *2 (quoting Betances, 304 F.R.D. at

 431 and collecting other cases for the same proposition). And again, any defense by the

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 City in individual cases that the detention was due to other factors, such as an outside

 warrant, can be asserted based on court records in a classwide proceeding just as it could

 in an individual proceeding.

        Plaintiffs likewise proffer common proof of damages, based on the number of

 hours class members were wrongfully detained, through their economics expert, Dr.

 Demuth. Accordingly, damages can be measured using common means. Because this

 model for calculating damages is linked to Plaintiffs’ theory of liability and is applicable

 to all members of the Class, individual assessments of damages do not erode Rule

 23(b)(3)’s predominance factor.

        Finally, the Court concludes that certification of this class is superior to individual

 litigation and that resolution of these claims in a single forum would serve the interests of

 judicial economy. For all of these reasons, the Court will certify the Modified Gerstein

 Class under Rule 23(b)(3) and appoint named Plaintiffs Carter, Tucker, and Alfred

 Morris as Class Representatives.

           B. Warrant Class Under Rule 23(b)(3)

        Next, Plaintiffs seek Rule 23(b)(3) certification of the Warrant Class, which

 Plaintiffs describe as another subclass of the Bearden Class consisting of only those

 members who were arrested on a warrant; in other words, the Warrant Class consists of

 those members of the Bearden Class who are not also members of the Modified Gerstein

 Class. Plaintiffs define the Warrant Class as:

           All persons who have, at any time since February 8, 2010, been held in
           jail by the City of Ferguson after being arrested on a warrant issued by
           the City (Count Three).

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 ECF No. 430-1 at 17.

        Plaintiffs contend that members of this class were arrested on a warrant and held

 in the Ferguson jail without any opportunity to be brought before a judge for a first

 appearance.

        The difference between the Warrant Class and the classes based on Bearden and

 Gerstein is the legal theory asserted by class members. As noted above, members of the

 Bearden Class challenge their detention as based on their inability to pay, in violation of

 due process and equal protection. Members of the Modified Gerstein Class challenge

 their detention as failing to be based on a prompt, neutral finding of probable cause, in

 violation of the Fourth Amendment. Members of the Warrant Class challenge their

 detention as violating their substantive due process “right to a prompt appearance in

 court, after arrest by warrant.” See Hayes v. Faulkner Cty., Ark., 388 F.3d 669, 673 (8th

 Cir. 2004) (recognizing such a right and noting that the standard of liability is

 “[d]eliberate indifference to prisoner welfare” that is sufficient to “shock the

 conscience”).

        The City argues that, like reasonableness, the shocks-the-conscience standard is

 inherently individualized and precludes class certification. To highlight the

 individualized nature of the inquiry, the City again cites caselaw in which individual

 arrestees claimed they were held too long before receiving a first appearance in court.

 See, e.g., Martz v. Simmons, No. 4:18-CV-04040, 2019 WL 2110576, at *1 (W.D. Ark.

 May 14, 2019) (cited by the City).


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        The City’s reliance on such caselaw is again misplaced. The Warrant Class

 members do not merely challenge the length of their detention prior to receiving a first

 appearance. They allege that, as a matter of the City’s uniform policy and practice, they

 were never provided a first appearance because no process for such appearance existed.

 Whether no such process existed, whether that failure is attributable to the City, whether

 the City acted with deliberate indifference, and whether the City’s conduct shocks the

 conscience, are all common questions the answers to which will be the same for all class

 members.

        For the same reasons discussed above with respect to the Bearden and Modified

 Gerstein Classes, the Warrant Class satisfies both the requirements of Rule 23(a) and

 (b)(3). Plaintiffs proffer common proof of damages through their expert, Dr. Demuth,

 which are based on the number of hours class members were wrongfully detained.

 Moreover, the seven named Plaintiffs offered as class representatives—Fant, Carter,

 Nelson, Nelson, Jr., Alfred Morris, Shameika Morris, Kimble, and Thomas 14—are proper

 representatives of this class and satisfy the typicality factor, as each alleges that he or she

 was arrested on a warrant and detained with no prospect of receiving a first appearance

 before a judge.

        For all of these reasons, the Court will certify the Warrant Class under Rule

 23(b)(3) and appoint named Plaintiffs Fant, Carter, Nelson, Nelson, Jr., Alfred Morris,

 Shameika Morris, Kimble, and Thomas as Class Representatives. Again, the Court may


 14
        Plaintiffs assert that Tucker’s sole arrest was warrantless and, as such, he is not
 being offered as a class representative of the Warrant Class.
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 revise the class definition following supplemental briefing on the parties’ proposed end-

 dates. See Fed. R. Civ. P. 23(c)(1)(C).

           C. Post-Judgment Class Under Rule 23(b)(3)

        The last self-described subclass of the Bearden Class of which Plaintiffs seek Rule

 23(b)(3) certification is the Post-Judgment Class, defined as:

        All persons who have, at any time since February 8, 2010, been jailed by the
        City of Ferguson because of their non-payment in connection with a prior
        judgment (Counts Two, Five, and Six).

 ECF No. 430-1 at 17.

        Plaintiffs contend that members of this subclass were arrested on warrants issued

 automatically when they missed a payment due with respect to fines or costs assessed by

 the Ferguson municipal court in connection with a judgment. Plaintiffs contend that

 these warrants were invalid, in violation of the Fourth Amendment, because they were

 issued solely for non-payment, without probable cause and without prior notice or an

 opportunity to be heard concerning ability to pay. Next, Plaintiffs contend that members

 of this subclass should have been but were not provided legal representation, in violation

 of the Sixth Amendment. Finally, Plaintiffs contend that these class members were

 treated more harshly than those similarly situated—including individuals owing money to

 private creditors who receive protections against unduly harsh methods of debt collection,

 and individuals able to afford an attorney or able to pay a predetermined fee, whose arrest

 warrants in this context were automatically recalled—in violation of the Equal Protection

 Clause.

        The City argues that this subclass should not be certified because Plaintiffs

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 conceded in their brief that the class “contains thousands of people who have been jailed

 by the City on the basis of warrants arising from nonpayment of debts” but that “[d]ue to

 the City’s flawed record keeping, a more precise tally of the Post-Judgment Class would

 require a manual review of the City’s existing individual paper court files.” ECF No.

 430-1 at 23. The City contends that this concession renders the class unascertainable.

        The City further argues that it is unclear who would be included in the class and

 whether, for example, it would include persons who were being detained on warrants

 from other jurisdictions or on warrantless arrests in addition to those allegedly arrested

 for nonpayment of debts.

        At oral argument, Plaintiffs’ counsel clarified that class members could be

 ascertained by review of municipal court records. Counsel cited as an example arrest

 warrants for several of the named Plaintiffs that reference “fines and costs” owed by

 these Plaintiffs. See, e.g., ECF No.427-81, Pls.’ Ex. 80 (one of the arrest warrants for

 named Plaintiff Roelif Carter referencing such “fines and costs”). Plaintiffs further assert

 that the municipal court’s paper files contain information about detainees’ outstanding

 fines and costs owed and payments made, which will ensure an accurate list of class

 members. Based on these representations, the Court concludes that class members may

 be identified by reference to objective criteria and, as such, the class is ascertainable.

        As to the City’s contention that the Post-Judgment Class may improperly include

 those detained on outside warrants or on warrantless arrests, in addition to warrants

 arising from failure to pay court-assessed fines and costs, the Court agrees with Plaintiffs

 that at least some period of detention would be due to the warrant arising from failure to

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 pay. As with the other classes described above, to the extent that the City wishes to argue

 in defense that some portion of the detention was due to other reasons (such as an outside

 warrant or warrantless arrest), the data necessary to establish such an argument is

 available from court records, which reflect any such dual-purpose arrests. Litigation on a

 classwide, as opposed to individual, basis would not impede the City’s ability to pursue

 such a defense.

        As with the other classes, the success or failure of each Post-Judgment Class

 member’s claim turns on common proof. In this case, it is proof that it was the City’s

 policy or practice to automatically issue arrest warrants when an individual failed to

 make timely payment with respect to fines and costs assessed in connection with prior

 judgments; and to fail to appoint counsel in connection with such legal proceedings. 15

        For the same reasons discussed above with respect to the Bearden and Modified

 Gerstein Classes, the Post-Judgment Class satisfies both the requirements of Rule 23(a)

 and (b)(3). Plaintiffs proffer common proof of damages through their expert, Dr.

 Demuth, which are based on the number of hours class members were wrongfully

 detained. Moreover, the seven named Plaintiffs offered as class representatives—Fant,

 Carter, Nelson, Nelson, Jr., Alfred Morris, Shameika Morris, and Thomas—are proper

 representatives of this class and satisfy the typicality factor, as each alleges that he or she

 was arrested on a warrant arising from non-payment of a fine or cost assessed in

 connection with a prior judgment and was incarcerated without counsel.


 15
        Likewise, the City’s contention that another entity was the moving force behind
 these alleged constitutional violations is a common question with a common answer.
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        For all of these reasons, the Court will certify the Post-Judgment Class under Rule

 23(b)(3) and appoint named Plaintiffs Fant, Carter, Nelson, Nelson, Jr., Alfred Morris,

 Shameika Morris, and Thomas as Class Representatives. As with the other classes, the

 Court may revise the class definition following supplemental briefing on the parties’

 proposed end-dates. See Fed. R. Civ. P. 23(c)(1)(C).

 Jail Conditions Class Under Rule 23(b)(3)

        Next, Plaintiffs seek Rule 23(b)(3) certification of the Jailed Conditions Class,

 which they define as:

           All persons who, at any time since February 8, 2010, were held in the
           City of Ferguson jail (Count Four).

        Plaintiffs contend that the Jail Conditions Class includes all arrestees who were

 detained in the Ferguson jail during the relevant period, even if they were held on behalf

 of another municipality. Plaintiffs argue that class members are united by their shared

 exposure to the jail’s inhumane conditions, including inadequate food, lack of access to

 hygiene products and showers, and lack of access to clean water by virtue of water

 fountains being attached to toilets.

        The City argues that the Jail Conditions Class should not be certified because

 Plaintiffs fail to demonstrate ascertainability, typicality, and commonality, predominance,

 and superiority 16 in that (1) the proposed class impermissibly combines distinct alleged

 constitutional violations of excessive force, denial of medical care, and inhumane jail



 16
       As noted above, the Court concludes and the City does not contest that this
 proposed class satisfies the numerosity and adequacy factors.
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 conditions; (2) the differences in the length of time each class member was detained in

 allegedly poor conditions defeats commonality and typicality; and (3) Plaintiffs lack

 evidence of an element of their claim because the expert testimony they rely upon should

 be excluded under Federal Rule of Evidence 702.

    I.      Constitutional Violations Alleged

         The City correctly notes that, to the extent that Plaintiffs intend to combine their

 claims of inhumane jail conditions with discrete claims of excessive force or denial of

 medical care into a single class, the class would fail to satisfy Rule 23’s requirements.

 See Elizabeth M. v. Montenez, 458 F.3d 779, 787 n.4, 788 (8th Cir. 2006) (holding that

 combining failure-to-protect and right-to-custodial-treatment claims with “differing legal

 standards” in a single class action was contrary to Rule 23). But Plaintiffs confirmed at

 oral argument that they do not seek to assert constitutional violations based on jail staff’s

 use of excessive force or denial of medical care in particular instances.

         Rather, Plaintiffs argue that their Jail Conditions Class asserts a general

 conditions-of-confinement claim requiring proof that the conditions of confinement

 “posed a substantial risk of serious harm” to the plaintiffs, and that the defendant was

 aware of the substantial risk of harm and deliberately indifferent to it.   See, e.g.,

 Beaulieu v. Ludeman, 690 F.3d 1017, 1045 (8th Cir. 2012). Because Plaintiffs allege that

 the conditions applied to them in substantially uniform ways, in a single facility, a

 classwide proceeding on this claim will generate common answers as to each of these

 elements. See, e.g., Scott v. Quay, 338 F.R.D. 178, 190 (E.D.N.Y. 2021) (certifying a

 conditions-of-confinement class under Rule 23(b)(3) upon finding that “Plaintiffs’ claims

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 arise from conditions that applied to them in uniform or similar ways, and which they

 allege were caused by defendants’ policies, acts, and omissions”).

    II.      Differences in Length of Time of Detention

          The Court rejects the City’s contention that differences in the length of time

 during which each class member was exposed to allegedly harmful conditions precludes

 class certification. The City relies upon the general proposition that conditions-of-

 confinement claims require consideration of the “totality of circumstances” of

 confinement and that exposure to harmful conditions for only a minimal length of time

 may not rise to the level of a constitutional violation. See, e.g., Owens v. Scott Cty. Jail,

 328 F.3d 1026, 1027 (8th Cir. 2003).

          But this rule does not preclude a finding of commonality. See, e.g., Yates v.

 Collier, 868 F.3d 354, 363 (5th Cir. 2017) (affirming class certification even where no

 two class members had “the exact same risk,” as the prison’s conditions were alleged to

 pose an unconstitutional risk of serious harm to all class members); Parsons v. Ryan, 754

 F.3d 657, 678 (9th Cir. 2014) (“[E]very inmate suffers exactly the same constitutional

 injury when he is exposed to a single . . . policy or practice that creates a substantial risk

 of serious harm”) Hassine v. Jeffes, 846 F.2d 169, 178 (3d Cir. 1988) (holding that

 commonality was satisfied where prisoners complained that deficient conditions

 regarding plumbing, food service, and inmate security existed at the prison and that they

 were subject to these conditions). If it did, it is not clear how any class of prisoners

 seeking to contest the conditions of confinement could satisfy Rule 23.

          Liability for all class members will depend on proof that the City had a policy or

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 custom of detaining inmates with inadequate food, lack of access to hygiene products and

 showers, and lack of access to clean water; that these conditions posed a substantial risk

 of serious harm to inmates; and that the City was deliberately indifferent to that risk.

 Assuming that Plaintiffs can prove these elements, any variations in the length of time of

 detention may “speak . . . to damages, not liability. And differences in damages alone

 will not defeat class certification.” 17 Flood v. Dominguez, 270 F.R.D. 413, 418 (N.D.

 Ind. 2010); see also Dunn v. City of Chicago, 231 F.R.D. 367, 377 (N.D. Ill.

 2005), amended on reconsideration, No. 04 C 6804, 2005 WL 3299391 (N.D. Ill. Nov.

 30, 2005) (“[I]f it is unlawful to hold detainees for prolonged periods in interrogation

 rooms without a toilet, bed, or regular meal service, it is unlawful as to each class

 member regardless of factual variations in their actual experiences while in custody.”);

 MacNamara v. City of New York, 275 F.R.D. at 152–53 (“The fact that the eventual

 assessment of damages may require individualized proof of injury does not preclude class

 treatment of allegations that the shared confinement conditions were unlawful.”).

      III.       Expert Testimony

             The City’s arguments with respect to Plaintiffs’ expert, Eldon Vail, have been

 fully briefed by way of a separate Daubert motion. See ECF No. 440. The Court will

 address that motion by separate Order. However, the merit of that motion does not affect

 the Court’s Rule 23 analysis. The questions of whether Vail’s testimony is reliable and



 17
        To the extent that the City successfully establishes that the conditions did not pose
 a substantial risk of harm to those held for less than a certain amount of time as a matter
 of law, classwide relief may be limited accordingly.
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 whether Plaintiffs have sufficient evidence to support their claim that the jail conditions

 posed a substantial risk of serious harm, and the answers to these questions, will be

 common to the class.

        In sum, the Jail Conditions Class satisfies the requirements of Rule 23(a) and

 (b)(3); each of the named Plaintiffs offered as class representatives is a proper

 representative of this class as each alleges that he or she was subject substantially similar

 poor conditions of Ferguson’s jail; Plaintiffs proffer common proof of their damages

 through their expert, Dr. Demuth, which are based on how long each class member spent

 in the Ferguson jail rather than on any individual characteristics of class members; and

 for the reasons stated above, the Court concludes that class certification is superior to

 individual litigation.

        For all of these reasons, the Court will certify the Jail Conditions Class under Rule

 23(b)(3) and appoint named Plaintiffs Fant, Carter, Nelson, Nelson, Jr., Alfred Morris,

 Shameika Morris, Kimble, Thomas, and Tucker as Class Representatives. Following

 supplemental briefing, the Court may revise the class definition in order to impose an

 end-date to the class period, which is likely to be no later than the date on which the

 Ferguson jail ceased operations. See Fed. R. Civ. P. 23(c)(1)(C).

 Declaratory and Injunctive Class Under Rule 23(b)(2)

        Finally, Plaintiffs seek Rule 23(b)(2) certification of the Declaratory and

 Injunctive Class, which they define as:

        All persons who currently owe or who will incur debts to the City of
        Ferguson from fines, fees, costs, or surcharges arising from judgments in
        cases prosecuted by the City (Counts Two, Five, and Six).

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 ECF No. 430-1 at 18.

        Although Plaintiffs reference only Counts Two (lack of counsel, in violation of the

 Sixth Amendment); Five (differential treatment compared to debtors owing money to

 private creditors, in violation of equal protection), and Six (invalid warrants, in violation

 of Fourth Amendment) in this class definition, they assert that members of this class will

 be jailed under the City’s unconstitutional policies and practices as alleged in all of the

 counts of their complaint. See ECF No. 430-1 at 30-32 (describing the common

 questions that this class intends to address, which touch on all of the causes of action pled

 in the complaint). They likewise seek declaratory and injunctive relief to address all of

 the alleged constitutional violations.

        Therefore, the Court will modify the class definition to reflect that it addresses all

 of Plaintiffs’ causes of action, as follows: All persons who currently owe or who will

 incur debts to the City of Ferguson from fines, fees, costs, or surcharges arising from

 judgments in cases prosecuted by the City (Counts One, Two, Three, Four, Five, Six, and

 Seven) (the “Modified Declaratory and Injunctive Class”). 18

        The City’s opposition to this class consists primarily or exclusively of challenges

 to the merits, including arguments that the requests for declaratory and/or injunctive



 18
         The Court recognizes that, following supplemental briefing and/or dispositive
 motion, it may be determined as a matter of law that some or all of the claims on which
 this class is proceeding are moot or otherwise inappropriate for injunctive relief. For
 example, the cessation of the Ferguson jail’s operations in 2017 likely renders Plaintiffs’
 claims under Count Four (conditions of confinement) moot. However, the Court believes
 it prudent to address such issues on a more complete record.
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 relief are moot; the requests for such relief are otherwise inappropriate in light of

 governing legal principles; and the relief sought is not within the authority of the City. 19

 The City does not address Rule 23’s requirements with respect to this class.

        The Court finds that the proposed class satisfies the requirements of Rule 23(a) for

 the reasons set forth above with respect to the corresponding damages classes. The

 named Plaintiffs offered as class representatives—Fant, Carter, Alfred Morris, Shameika

 Morris, and Thomas—are typical of the class because they each allege they were, at the

 time the lawsuit was filed, indebted to the City as a result of fines, fees, costs, or

 surcharges arising from judgments in cases prosecuted by the City. As noted above, the

 City does not challenge the adequacy of the class representatives or class counsel, and the

 Court finds based on the record and the conduct of counsel and parties throughout this

 litigation that the class representatives’ interests are aligned with those of the putative

 classes and that their attorneys are competent to prosecute the action.

        “The key to the (b)(2) class is “the indivisible nature of the injunctive or

 declaratory remedy warranted—the notion that the conduct is such that it can be enjoined

 or declared unlawful only as to all of the class members or as to none of them.” Dukes,

 564 U.S. at 360. The City raises no specific argument against the cohesiveness of this

 class. And the relief sought here is applicable to all class members as it seeks to declare

 the City’s policies and practices described above with respect to the damages classes

 unconstitutional and seeks to enjoin the City from enforcing such policies and practices.


 19
         As noted above, some of these arguments may be addressed in supplemental
 filings that will follow this Memorandum and Order.
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        Because the Modified Declaratory and Injunctive Class’s challenges to the City’s

 policies and practices are premised on grounds applicable to the entire class, Rule

 23(b)(2) is satisfied. See Ebert, 823 F.3d at 480. And as Plaintiffs have met their burden

 of showing that the Modified Declaratory and Injunctive Class satisfies the requirements

 of Rule 23(a) and (b)(2), the Court will certify the Class and appoint named Plaintiffs

 Fant, Carter, Alfred Morris, Shameika Morris, and Thomas as Class Representatives.

                                      CONCLUSION

        Accordingly,

        IT IS HEREBY ORDERED that Plaintiffs’ motion for class certification is

 GRANTED in part, as set forth above, such that the Court will grant certification but

 will modify certain of the class definitions. ECF No. 425.

        IT IS FURTHER ORDERED that named Plaintiffs Keilee Fant, Roelif Carter,

 Allison Nelson, Herbert Nelson, Jr., Alfred Morris, Shameika Morris, Anthony Kimble,

 Donyale Thomas, and Ronnie Tucker are appointed as Class Representatives to represent

 the Bearden Class, defined as follows:

        All persons who have, at any time since February 8, 2010, been kept in jail by the

 City of Ferguson for failing to pay a fine, fee, bond, surcharge, or cost, without an inquiry

 into their ability to pay (Count One).

        IT IS FURTHER ORDERED that named Plaintiffs Roelif Carter, Alfred Morris,

 and Ronnie Tucker are appointed as Class Representatives to represent the Modified

 Gerstein Class (a subclass of the Bearden Class), defined as follows:

        All persons who have, at any time since February 8, 2010, been held in jail by the

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 City of Ferguson after a warrantless arrest with no finding of probable cause by a neutral

 magistrate for their arrest and continued detention (Count Seven).

        IT IS FURTHER ORDERED that named Plaintiffs Keilee Fant, Roelif Carter,

 Allison Nelson, Herbert Nelson, Jr., Alfred Morris, Shameika Morris, Anthony Kimble,

 and Donyale Thomas are appointed as Class Representatives of the Warrant Class (a

 subclass of the Bearden Class), defined as follows:

        All persons who have, at any time since February 8, 2010, been held in jail by the

 City of Ferguson after being arrested on a warrant issued by the City (Count Three).

        IT IS FURTHER ORDERED that named Plaintiffs Keilee Fant, Roelif Carter,

 Allison Nelson, Herbert Nelson, Jr., Alfred Morris, Shameika Morris, and Donyale

 Thomas are appointed as Class Representatives of the Post-Judgment Class (a subclass of

 the Bearden Class), defined as follows:

        All persons who have, at any time since February 8, 2010, been jailed by the City

 of Ferguson because of their non-payment in connection with a prior judgment (Counts

 Two, Five, and Six).

        IT IS FURTHER ORDERED that named Plaintiffs Keilee Fant, Roelif Carter,

 Allison Nelson, Herbert Nelson, Jr., Alfred Morris, Shameika Morris, Anthony Kimble,

 Donyale Thomas, and Ronnie Tucker are appointed as Class Representatives of the Jail

 Conditions Class, defined as follows:

        All persons who, at any time since February 8, 2010, were held in the City of

 Ferguson jail (Count Four).

        IT IS FURTHER ORDERED that named Plaintiffs Keilee Fant, Roelif Carter,

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 Alfred Morris, Shameika Morris, and Donyale Thomas are appointed as Class

 Representatives to represent the Modified Declaratory and Injunctive Class, defined as

 follows:

       All persons who currently owe or who will incur debts to the City of Ferguson

 from fines, fees, costs, or surcharges arising from judgments in cases prosecuted by the

 City (Counts One, Two, Three, Four, Five, Six, and Seven).

       IT IS FURTHER ORDERED that John Waldron and Blake Strode of ArchCity

 Defenders, Inc., 440 N. 4th Street, Suite 390, St. Louis, Missouri 63102; Angela Daker, J.

 Frank Hogue, Claire Leonard, Shannon Lane, and Hafsa S. Mansoor of White & Case

 LLP, 200 South Biscayne Boulevard, Suite 4900 Miami, FL 33131; Marco Lopez and

 Ryan Downer of Civil Rights Corps, 1601 Connecticut Avenue NW, Suite 800

 Washington, DC 20009; and Brendan Roediger and John Ammann of SLU Law Clinic,

 100 N. Tucker Blvd. Saint Louis, MO 63101-1930, are appointed as Class Counsel.

       IT IS FURTHER ORDERED that the parties shall promptly meet and confer and

 shall file, within 14 days of the date of this Memorandum and Order, a joint proposed

 schedule for the remainder of the litigation, including prompt proposed deadlines and

 procedures with regard to the following:

       (1) the most appropriate procedural framework and deadlines for briefing
           proposed end-dates for the Rule 23(b)(3) class periods and Defendants’ related
           arguments regarding mootness and the appropriateness of declaratory and
           injunctive relief based on changes to the alleged policies and practices at issue
           in the complaint;

       (2) the disposition of named Plaintiff John Narayan’s claims;

       (3) the re-referral of this action to mediation;

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       (4) the filing of dispositive motions;

       (5) the filing of any remaining Daubert motions; and

       (6) trial, as well as the estimated length of trial.


                                                     _______________________________
                                                     AUDREY G. FLEISSIG
                                                     UNITED STATES DISTRICT JUDGE
 Dated this 9th day of June, 2022.




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